107 F.3d 10
    Barrington F. Watkisv.Kuehne &amp; Nagel, Inc., National Head Office and New YorkBranch, a Subsidiary of Kuehne &amp; Nagel, Inc., (AG &amp; Co.),Sandra McDaniels, Coordinator, Costumer ServiceRepresentatvic, Kuehne &amp; Nagel, Inc., Fred Eberts,President, Kuehne &amp; Nagel, Inc.
    NO. 96-5439United States Court of Appeals,Third Circuit.
    Jan 03, 1997
    
      Appeal From:  D.N.J. , No. 94-cv-01026 ,
      Lifland, J.
    
    
      1
      Affirmed.
    
    